Case 2:05-cv-02214-SHI\/|-dkv Document 15 Filed 09/01/05 Page 1 of l20 Page|D 20

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IN THE UNITED sTATEs DISTRICT coURT
FoR THE wEsTERN DIsTRIcT oF TENNESSEE _
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GLENDA GLINSEY, §§i§¥;f§é§wg
Plaintiff,
v. No. 05-2214 Ma/v

LOWELL DUKE, ANTI'ION'Y MORRIS,
CIT'Y OF MEMPHIS,

\.r\.d\_¢\_rv\_r'~_¢~_/`r*-I

Defendants.

 

ORDER GRANTING IN PART AND DENYING IN PART DEFENDANT CITY OF
MEMPHIS’ MOTION TO DISMISS AND DENYING AS MOOT CITY OF MEMPHIS
POLICE DEPARTMENT’S MOTION TO DISMISS

 

Plaintiff Glenda Glinsey (“Glinsey”) brings this action under
42 U.S.C. §§ 1981, 1983, 1985 and 1988 alleging that Memphis police
officers violated her First, Fourth, Fifth, Eighth and Fourteenth

Amendment rights. (Am. Compl. at T 2.) Glinsey's Amended Complaint

names as defendants the City of Memphis (the “City”); Officer
Lowell Duke (“Duke”); and Officer Anthony Morris (“Morris”)
(collectively the “Defendants”). Glinsey seeks actual, compensatory

and punitive damages as well as reasonable attorney's fees and
costs. (Am. Compl. at 1 17.)

Glinsey filed her Complaint in the Court of General Sessions
of Shelby County, Tennessee, on February 25, 2005. The Defendants
removed Glinsey's case to this court on March 18, 2005. The City of

Memphis Police Department, which was not named as a defendant in

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Case 2:O5-cv-O2214-SHI\/|-dkv Document 15 Filed 09/01/05 Page 2 of 20 Page|D 21

the Complaint, filed a motion to dismiss on March 24, 2005. On May
18, 2005, the parties filed a “stipulation” allowing Glinsey to
amend her Complaint, and Glinsey filed an Amended Complaint on June
16, 2005.l The City of Memphis Police Department is not a defendant
and its motion to dismiss is DENIED as moot.

On July 1, 2005, the City filed a notion to dismiss the
Amended Complaint. Glinsey filed a response on July 25, 2005. For
the following reasons, the City’s motion to dismiss is GRANTED in
part and DENIED in part.

I. Background

The following relevant facts are taken from Glinsey's Amended
Complaint. Glinsey is an African-American resident of Shelby
County, Tennessee. (Am. Compl. at I 1.) Officers Duke and Morris
are employed by the Memphis Police Department. (Id.)

On March 16, 2004, Officer James Peacock, an officer employed
by the Memphis Police Department, asked Vernon Jones to assist him
with a police investigation. (Id. at I 4.) Officer Peacock wanted
Jones to go to 799 Mississippi Boulevard to locate a witness and
ask the witness to go “down-town” for an interview with Officer
Peacock. (Id.) Jones, who did not have a vehicle available, asked
Glinsey to drive him to 799 Mississippi Boulevard. (Id.)

When they arrived at 799 Mississippi Boulevard, Glinsey and

Jordan encountered Officer Morris, who screamed at Glinsey, “get

 

1The Amended Complaint also does not name the City of Memphis Police
Department as a defendant.

2

Case 2:05-cv-02214-SH|\/|-dkv Document 15 Filed 09/01/05 Page 3 of 20 Page|D 22

the fuck [away] from my crime scene.” (Id. at T 5.) Glinsey and
Jones then located the witness sought by Officer Peacock. (Id.)
After speaking with the witness, Glinsey and Jones began to leave
the property. (Id.) They were again approached by Officer Morris,
who screamed “get your ass off the property now.” (Id.) Officer
Morris pushed Glinsey toward her vehicle, grabbed one of her arms,
twisted it behind her back, and stated “bitch, this is not the ride
you’re leaving in. You are going to ride in that ride.” (Id.)
Officer Morris then pointed at a Memphis Police Department squad
car. (Id.)

Officer Duke asked Officer Morris “Do you need help putting
the handcuffs on this bitch?”2 (Id.) Glinsey asked for Officer
Morris' name, and he replied “ask Willie Herenton and get it off
the arrest ticket and [you can] call the Commercial Appeal and the
news media to get it.” (Id.) Glinsey was placed in Officer Duke's
car while Officer Duke stated “You black ass nigger, another nigger
just handed you over to me. This is how you niggers came from
Africa. Y'all caught each other and gave each other to us.
Nigga, nigga, nigga, and [I don‘t] give a damn about Willie
Herenton. He's a lame duck on his way out and fuck A.C. Wharton.”
(Id.) Glinsey asked Duke what Willie Herenton and A.C. Wharton had
to do with her and he replied “[you are] all black ass niggers from

Africa and need[] to go back. [A]ll nigger bitches [are] going to

 

2 It is not clear from the Amended Complaint whether Officer Duke was
present when the incident began.

Case 2:05-cv-02214-SH|\/|-dkv Document 15 Filed 09/01/05 Page 4 of 20 Page|D 23

be arrested, since that daughter-in-law bitch of Herenton's escaped
murder.” (Id. at j 6.)

Both officers participated in placing handcuffs on Glinsey,
using such force that Glinsey suffered nerve damage requiring
medical care.3 (Id. at “ 7.) Officer Duke transferred Glinsey to
jail and filed a charge against her for “disorderly conduct.” (Id.
at j 9.) The charge was dismissed the following day. (Id.)

The Amended Complaint alleges that on March 18, 2004, Duke and
Morris entered Glinsey's residence and stole several pieces of
jewelry. (Id. at I 10.) When Glinsey filed a report with the
Memphis Police Department, she was told that the police would check
local pawn shops for her jewelry. (Id.) The police did not attempt
to investigate Officers Morris or Duke for the theft. (Id.)

According to the Amended Complaint, Officer Duke has a history
of official misconduct. (Id. at 1 15.) These acts resulted in his
termination from the Memphis Police Department. (Id.) He was
rehired before the incident involving Glinsey occurred. (Id.)

II. Jurisdiction
The court has jurisdiction to adjudicate federal claims under

28 U.S.C. § 1331.

 

3The Complaint appears to allege that handcuffs were placed on Glinsey
after she had been placed in Officer Duke's squad car.

4

Case 2:05-cv-02214-SH|\/|-dkv Document 15 Filed 09/01/05 Page 5 of 20 Page|D 24

III. Standard for Dismissal Under Rule l2(b)(6)

“Under the liberal notice pleading rules, a complaint need
only put a party on notice of the claim being asserted against it
to satisfy the federal rule requirement of stating a claim upon
which relief can be granted.” Memphis, Tenn. Area Local, Am. Postal
Workers’ Union, AFL-CIO v. City of Memphis, 361 F.3d 898, 902 (6th
Cir. 2004). When considering a motion to dismiss for failure to
state a claim, the court regards all factual allegations in the
complaint as true. Scheid v. Fannv Farmer Candv Shops, Inc., 859
F.2d 434, 436 (6th Cir. 1988). Further, the court must construe the
complaint in the light most favorable to the plaintiff. Memphis,
Tenn. Area Local, Am. Postal Workers' Union, 361 F.3d at 902. If
the plaintiff can prove no set of facts that would entitle him to
relief based on a viable legal theory, the claim will be dismissed.
Scheid, 859 F.2d at 437.

“The Federal Rules of Civil Procedure do not require a
claimant to set out in detail all the facts upon which he bases his
claim.” Conlev' v. Gibson, 355 U.S. 41, 47 (1957). “To avoid
dismissal under Rule 12(b)(6), a complaint must contain either
direct or inferential allegations with respect to all material
elements of the claim.” Wittstock v. Mark a Van Sile, Inc., 330

F.3d 889, 902 (6th Cir. 2003).

Case 2:05-cv-02214-SH|\/|-dkv Document 15 Filed 09/01/05 Page 6 of 20 Page|D 25

IV. Analysis

The City asks the court to dismiss all claims Glinsey has
asserted against the City under §§ 1981, 1983, 1985 and 1988 as

well as her claim for punitive damages.

A. Glinsey's §§ 1981, 1985, 1988 and Punitive Damages Claims
1. Section 1981
Glinsey’s Amended Complaint states “the individual Defendants
in this action are guilty of violations of Section 1981 of the
Civil Rights Acts....” (Am. Compl. at 1 11.) The Amended Complaint
does not state claims against the City under § 1981. Therefore, the
court need not consider the City’s arguments in favor of dismissing
Glinsey's § 1981 claims.
2. Section 1985
Glinsey, in her response to the City's motion, states that
“[t]he City is not charged with a conspiracy.” (Pl.'s Resp. at 1.)
Therefore, the court need not consider the City's arguments in
favor of dismissing Glinsey's § 1985 claims.
3. Section 1988
“Section 1988 does not enjoy the independent stature of an
‘Act of Congress providing for the protection of civil rights,' 28
U.S.C. § 1343(4). Rather, as is plain on the face of the statute,
the section is intended to complement the various acts which do

create federal causes of action for the violation of federal civil

Case 2:05-cv-02214-SH|\/|-dkv Document 15 Filed 09/01/05 Page 7 of 20 Page|D 26

rights.” Moor v. Alameda Countv, 411 U.S. 693, 702 (1973). Because
claims cannot be brought under § 1988, the court need not consider
the City's arguments in favor of dismissing Glinsey's § 1988
claims.4
4. Punitive Damages

Glinsey, in her response to the City's motion, states that
“[p]unitive damages are not sought against the City of Memphis,
only the individual Defendants.” (Pl.'s Resp. at 1.) Therefore, the
court need not consider the City's arguments in favor of dismissing
Glinsey's claim for punitive damages.

B. Section 1983 Claims

Glinsey alleges that the City is liable under 42 U.S.C. § 1983
for violating her rights under the First, Fourth, Fifth, Eighth,
and Fourteenth Amendments to the U.S. Constitution. To set forth a
§ 1983 claim against a municipality, “a plaintiff must allege that
(1) agents of the municipality, while acting under color of state
law, (2) violated the plaintiff’s constitutional rights, and (3)
that a municipal policy or policy of inaction was the moving force
behind the violation.” Memphis, Tenn. Area Local. Am. Postal

Workers’ Union, 361 F.3d at 902.

 

1. First Amendment
Glinsey argues that her first amendment rights of

“association, movement, and conduct” were violated when she was

 

4The City essentially argues that claims cannot be brought under § 1988.

7

Case 2:05-cv-02214-SH|\/|-dkv Document 15 Filed 09/01/05 Page 8 of 20 Page|D 27

wrongly charged with “disorderly conduct.” (Pl.'s Mem. in Supp. at
1~2.) Glinsey states that, at the time of her arrest, she was
pursuing a “civic effort” to aid Vernon Jones in finding a witness
for Officer Peacock's investigation. (Id.) According to Glinsey,
this “civic effort” is protected by the First Amendment, and the
arrest interfered with her ability to perform this protected
activity. (Id.)

Assuming arguendo that Glinsey’s “civic effort” to help Vernon
Jones find a witness for Officer Peacock's investigation is an
activity that is protected by the First Amendment, the City cannot
be held liable for violating that right. Officers Morris and Duke
did not interfere with that activity. According to the Amended
Complaint, Glinsey and Jones located and spoke with the witness
they were trying to find. Glinsey was apprehended by Officers Duke
and Morris only as she was leaving the building, after she and
Jones had finished their business with the witness. Because the
Amended Complaint clearly states that the City of Memphis police
officers did not interfere with the allegedly protected activity of
seeking a witness for a criminal investigation, Glinsey has not
stated a claim for a violation of her First Amendment rights. The
court grants the City's motion to dismiss Glinsey's 42 U.S.C. §

1983 claim for a violation of her First Amendment rights.

Case 2:05-cv-02214-SH|\/|-dkv Document 15 Filed 09/01/05 Page 9 of 20 Page|D 28

2. Fourth Amendment

The Fourth .Amendment to the Constitution. guarantees that
“[t]he right of the people to be secure in their persons
against unreasonable searches and seizures, shall not be violated

.” Glinsey’s Complaint alleges three Fourth Amendment
violations: 1) excessive force used by Officer Duke during her
arrest; 2) false arrest; and 3) unreasonable search of her home and
seizure of her property. The first inquiry is whether Glinsey's
Amended Complaint properly alleges that each of these rights was
violated. The second is whether Glinsey has properly alleged that
the city is liable for any of the alleged violations.

EXCESSIVE FORCE: The touchstone of an excessive force claim
“is the reasonableness of the arresting officers' actions.” §L;
JOhn v. Hickey;, 411 F.3d 762, 771~72 (6th Cir. 2005). “[T]he
‘reasonableness' inquiry in an excessive force case is an objective
one: the question is whether the officers’ actions are ‘objectively
reasonable' in light of the facts and circumstances confronting
them, without regard to their underlying intent or motivation.”
Graham v. Connor, 490 U.S. 386, 397 (1989). “[T]he ‘proper
application' of the reasonableness inquiry ‘requires careful
attention to the facts and circumstances of each particular case,
including the severity of the crime at issue, whether the suspect
poses an immediate threat to the safety of the officers or others,

and whether he is actively resisting arrest or attempting to evade

Case 2:05-cv-02214-SH|\/|-dkv Document 15 Filed 09/01/05 Page 10 of 20 Page|D 29

arrest by flight. ... [T]he ultimate question is ‘whether the
totality of the circumstances justifies a particular sort of
seizure.'” St. John, 411 F.3d at 771~72 (quoting Graham, 490 U.S.
at 396.).

Glinsey alleges that Officers Duke and Morris handcuffed her
using such force that she suffered. nerve damage. The Amended
Complaint does not state that Glinsey was resisting arrest, armed,
or posed a threat to the Officers. There are no facts stated in the
Amended Complaint that suggest any force was required to handcuff
Glinsey. Therefore, Glinsey's allegations, if true, constitute
excessive force in violation of her Fourth Amendment right to be
free from unreasonable searches and seizures under color of law.

FALSE ARREST: The touchstone of a false arrest claim is
whether the arresting officer had probable cause to arrest the
individual. gee Williams ex rel. Allen v. Cambridge Bd. of Educ.,
370 F.3d 630, 636-37 (6th Cir. 2004); Beck v. Ohio, 379 U.S. 89, 91
(1964). “Probable cause means the ‘facts and circumstances within
the officer’s knowledge that are sufficient to warrant a prudent
person, or one of reasonable caution, in believing, in the
circumstances shown, that the suspect has committed, is committing,
or is about to commit an offense.'” Williams ex rel. Allen, 370
F.3d at 636-37 (quoting Michigan v. DeFillippo, 443 U.S. 31, 37
(1979)). Glinsey alleges that she was not violating the Tennessee

law prohibiting disorderly conduct and was falsely charged with

10

Case 2:05-cv-02214-SH|\/|-dkv Document 15 Filed 09/01/05 Page 11 of 20 Page|D 30

this crime. (Am. Compl. rat 1 9.) If Glinsey's allegation is
believed, her arrest was without probable cause and in violation of
the Fourth Amendment.

UNREASONABLE SEARCH AND SEIZURE OF PROPERTY: The Fourth
Amendment’s protections against unreasonable searches and seizures
of property only come into play when an unreasonable search and

seizure is related to a criminal investigation. See Gerstein v.

 

Eggh, 420 U.S. 103, 125 n. 27 (1975). Glinsey alleges that Officers
Morris and Duke broke into her home and stole her jewelry. Glinsey
has not alleged that this was done in relation to 21 criminal
investigation.5 Consequently, Glinsey has not stated a claim for an
unreasonable search and seizure of her property in violation of the
Fourth Amendment.

THE CITY'S LIABILITY: Before a local governmental unit can be
held liable for injuries under § 1983, “a plaintiff must show that
his injuries were the result of some ‘policy or custom'
attributable to the governmental entity." Leach v. Shelbv Countv
Sheriff, 891 F.2d 1241, 1245 (6th Cir. 1989) (quOting MOnell V.
Dep't of Soc. Servs. of New York, 436 U.S. 658, 690 (1978)).
Governmental entities are liable under § 1983 if a plaintiff can
“demonstrate that a municipal decision reflects deliberate

indifference to the risk that a violation of a particular

 

5

According to the Amended Complaint, the disorderly conduct charge was

dropped March 17, 2005, the day before Glinsey alleges Officers Duke and Morris
broke into her home.

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Case 2:05-cv-02214-SH|\/|-dkv Document 15 Filed 09/01/05 Page 12 of 20 Page|D 31

constitutional or statutory right will follow the decision.” §ga;d
of Countv Com'rs of Brvan Countv. Okl. v. Brown, 520 U.S. 397, 411
(1997). The decision to employ a law enforcement officer is
“deliberately indifferent” to the risk of a constitutional
violation when knowledge of the officer’s background “would lead a
reasonable policymaker to conclude that the plainly obvious
consequence of the decision to hire the applicant would be the
deprivation of a third party’s federally protected right....” ld;;

see also Brandon v. Holt, 469 U.S. 464, 466-67 (1985); Williams v.

 

City Of Chicago, 658 F.Supp. 147, 154 (N.D. Ill. 1987).

Glinsey alleges that Officer Duke had been fired from the
Memphis Police Department. Glinsey does not state the precise
nature of Duke's past misconduct, but for purposes of the City's
motion to dismiss, it is enough that she has alleged that the City
knew him to be an employee who had engaged in misconduct. If
Glinsey's allegation is true, by rehiring Duke the City was
deliberately indifferent to the risk that Duke would misbehave, and
possibly violate the constitutional rights of Memphis citizens.
Glinsey claims that Duke was responsible for using excessive force
and for falsely arresting her. Consequently, the Amended Complaint
states claims against the City' under' § 1983 for 'violation. of
Glinsey's Fourth Amendment rights to be free from the use of
excessive force and false arrest.

The court denies the City's motion to dismiss Glinsey's 42

12

Case 2:05-cv-02214-SH|\/|-dkv Document 15 Filed 09/01/05 Page 13 of 20 Page|D 32

U.S.C. § 1983 claims for use of excessive force and false arrest in

violation of the Fourth Amendment. The Court grants the City's

motion to dismiss Glinsey's § 1983 claim for unreasonable search

and seizure of her property in violation of the Fourth Amendment.
3. Fifth Amendment

The Fifth Amendment, in relevant part, provides “[n]o person
shall ... be deprived of life, liberty, or property, without due
process of law; nor shall private property be taken for public use,
without just compensation.” Glinsey contends that her Fifth
Amendment rights were violated when Morris and Duke allegedly broke
into her home and stole her jewelry. According to Glinsey, this
burglary was a violation of the Fifth Amendment because it was a
taking without due process and because she did not receive just
compensation for what was taken.

Glinsey's claim against the City for a taking of her property
without due process in violation of the Fifth Amendment fails
“because the Fifth Amendment [due process clause] applies to the
federal government, not state or local governments....” Myers v.
Village of Algerl Ohio, 102 Fed. Appx. 931, 933 (6th Cir. 2004);
see also Scott v. Clav Countv, Tenn., 205 F.3d 867, 873 n. 8 (6th
Cir. 2000). Glinsey’s claim against the City for a taking of her
property' without just compensation in 'violation. of the Fifth
Amendment fails because she has not alleged that Officers Morris

and Duke broke into her home to take her property for a public use.

13

Case 2:05-cv-02214-SH|\/|-dkv Document 15 Filed 09/01/05 Page 14 of 20 Page|D 33

The court grants the City's motion to dismiss Glinsey's 42 U.S.C.
§ 1983 claim for a violation of her Fifth Amendment rights.

4. Eighth Amendment

Glinsey claims that her Eighth Amendment rights were violated
because she was subjected to cruel and unusual punishment. “The
language of the Eighth Amendment, ‘[e]xcessive bail shall not be
required, nor excessive fines imposed, nor cruel and unusual
punishments inflicted,' manifests ‘an intention to limit the power
of those entrusted with the criminal-law function of government.'”
Whitlev v. Albers, 475 U.S. 312, 318-19 (1986) (quoting Ingraham v.
Wright, 430 U.S. 651, 664 (1977)). “The Cruel and Unusual
Punishments Clause was designed to protect those convicted of
crimes [] and consequently the Clause applies only after the State
has complied with the constitutional guarantees traditionally
associated with criminal prosecutions.” ld;, 475 U.S. 312, 318-19
(1986) (internal quotes and citations omitted). Because Glinsey was
never convicted of a crime, her Eighth Amendment rights cannot have
been 'violated. The court grants the City's motion to dismiss
Glinsey’s 42 U.S.C. § 1983 claim for a violation of her Eighth
Amendment Rights.

5. Fourteenth Amendment

The Fourteenth Amendment states, in relevant part, that no

State shall “deprive any person of life, liberty, or property,

without due process of law; nor deny to any person within its

14

Case 2:05-cv-02214-SH|\/|-dkv Document 15 Filed 09/01/05 Page 15 of 20 Page|D 34

jurisdiction the equal protection of the laws.” Glinsey alleges
three violations of the Fourteenth.Amendment: 1) that property from
her home was taken in violation of her procedural due process
rights; 2) that the language used by' Duke during her arrest
violated her right to equal protection; and 3) that her substantive
due process rights were violated. The first inquiry is whether
Glinsey's Amended Complaint properly alleges that each of these
rights was violated. The second is whether Glinsey has properly
alleged that the city is liable for any of the alleged violations.

PROCEDURAL DUE PROCESS: “For a procedural due process claim,
a plaintiff must establish a constitutionally protected liberty or
property interest and show that such an interest was deprived
without appropriate process.” Board of Reqents v. Roth, 408 U.S.
564, 569-70 (1972); LRL Props. v. Portaqe Metro Hous. Auth., 55
F.3d 1097, 1108 (6th Cir. 1995). The Sixth Circuit “applies a
two-part analysis to procedural due process claims. ‘First, the
court must determine whether the interest at stake is a protected
liberty or property right under the Fourteenth Amendment. Only
after identifying such a right [does the court] continue to
consider whether the deprivation of that interest contravened
notions of due process.’” Midkiff v. Adams Countv Reqional Water
District, 409 F.3d 758, 762-63 (6th Cir. 2005) (quoting Thomas v.
M, 304 F.3d 563, 576 (6th Cir. 2002)).

Glinsey alleges that her personal property was stolen by

15

Case 2:05-cv-02214-SH|\/|-dkv Document 15 Filed 09/01/05 Page 16 of 20 Page|D 35

agents of the state. An individual has a constitutional right to
her property, and, when property is stolen, by definition due
process is not satisfied. Therefore, the alleged theft violated
Glinsey’s Fourteenth Amendment procedural due process rights. The
Amended Complaint is unclear about whether Duke and Morris were
acting under color of state law when they stole Glinsey's jewelry.
Although unclear, if the Amended Complaint is read liberally,
Memphis, Tenn. Area Local. Am. Postal Workers' Union, 361 F.3d at
902, it is sufficient to put the City on notice that Glinsey is
alleging that Duke and Morris were acting under color of state law
when they stole her jewelry.

EQUAL PROTECTION: “[R]acial slurs, standing alone, state an
equal protection claim based on racially motivated verbal abuse and
harassment.” Smith v. Thornburg, 136 F.3d 1070, 1089-90 (6th Cir.
1998) (dissent); see also Johnson v. Morel, 876 F.2d 477, 479,
482-84 (5th Cir. 1989) (“To state a claim under the Equal
Protection Clause, a § 1983 plaintiff must allege that a state
actor intentionally discriminated against the plaintiff because of
membership in a protected class. Johnson's claim appears to do so.
He alleges that [Officer] Morel humiliated and harassed him, and
that the insults and harassment were explicitly racist.”),
overruled on other grounds, Harper v. Harris County, Tex., 21 F.3d
597 (5th Cir. 1994). Glinsey alleges that Duke yelled a series of

offensive, harassing, and humiliating racial slurs at her. This

16

Case 2:05-cv-02214-SH|\/|-dkv Document 15 Filed 09/01/05 Page 17 of 20 Page|D 36

constitutes a violation of the equal protection clause of the
Fourteenth Amendment.

SUBSTANTIVE DUE PROCESS: “Where a particular Amendment
‘provides an explicit textual source of constitutional protection'
against a particular sort of government behavior, ‘that Amendment,
not the more generalized notion of substantive due process, must be
the guide for analyzing these claims.'” Albriqht v. Oliver, 510

U.S. 266, 273 (1994) (citing Graham v. Connor, 490 U.S. at 395).

 

Glinsey generally alleges that the substantive due process clause
of the Fourteenth Amendment has been violated, but she has not
objected to “particular government behavior” that is not prohibited
by some other constitutional provision. Therefore, the court grants
the City's motion to dismiss Glinsey’s § 1983 claim for violation
of her Fourteenth Amendment substantive due process rights.

THE CITY’S LIABILITY: Glinsey alleges that the City was aware
of Officer Duke’s propensity for engaging in misconduct because he
had previously been fired for misconduct. If Glinsey's allegation
is true, by rehiring Duke, the City was deliberately indifferent to
the risk that Duke would misbehave and possibly violate the
constitutional rights of Memphis citizens. Glinsey' has stated
claims against Duke for violating her Fourteenth Amendment
procedural due process and equal protection rights. Consequently,
the Amended Complaint states claims against the City under § 1983

for violation of Glinsey's Fourteenth Amendment rights.

17

Case 2:05-cv-02214-SH|\/|-dkv Document 15 Filed 09/01/05 Page 18 of 20 Page|D 37

The court denies the City's motion to dismiss Glinsey's 42
U.S.C. § 1983 claims for violation of her Fourteenth Amendment
procedural due process and equal protection rights. The court
grants the City's motion to dismiss Glinsey's § 1983 claim for
violation of her Fourteenth..Amendment substantive due process

rights.

18

Case 2:05-cv-02214-SH|\/|-dkv Document 15 Filed 09/01/05 Page 19 of 20 Page|D 38

V. Conclusion

For the foregoing reasons, the court GRANTS defendant City of
Memphis' motion to dismiss Plaintiff’s 42 U.S.C. § 1983 claims for
violation of her First Amendment rights, Fourth Amendment right to
be free from unreasonable searches and seizures of property, Fifth
Amendment rights, Eighth Amendment rights, and Fourteenth Amendment
substantive due process rights.

The court GRANTS defendant City of Memphis' motion to dismiss
Plaintiff's punitive damages claim and 42 U.S.C. §§ 1981, 1985 and
1988 claims.

The court DENIES defendant City of Memphis' motion to dismiss
Plaintiff's 42 U.S.C. § 1983 claims for violation of her Fourth
Amendment rights to be free from the use of excessive force and
false arrest, and for violation of her Fourteenth Amendment
procedural due process and equal protection rights.

The court DENIES as moot City of Memphis Police Department’s

motion to dismiss.

So ordered this l BL' day of September 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

19

   

UNITESTASTE DISTRICT OURT - WESTENR ISRI T OF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 15 in
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Honorable Samuel Mays
US DISTRICT COURT

